EXHIBIT “C”
                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA

                             Case No. 6:22-cv-00197-CEM-EJK.

PEDRO JUAN MILLAN,

          Plaintiff,
v.

RECEIVABLE MANAGEMENT GROUP INC,

      Defendant.
_______________________________________/



     DECLARATION OF ATTORNEY PAUL. A. HERMAN IN SUPPORT OF
        PLAINTIFF’S MOTION FOR AWARD OF ATTORNEYS’ FEES


          I, Paul A. Herman, declare under penalty of perjury, as provided for by the laws
of the United States, 28 U.S.C. § 1746, that the following statements are true:

          1.      I am an attorney and the owner of a law firm which operates under the
name Consumer Advocates Law Group, PLLC.

          2.      I am currently a member in good standing of the bars of the following
courts:

                Court/State Bar Assoc.                  Date Admitted/Re-admitted
     State of Florida Bar
                                                        Aug. 30, 1984/Feb 06, 2017
     United States District Court
                                                         Jan. 18, 1985/Dec. 6, 2018
     Southern District of Florida
     United States District Court
                                                           Feb 1986/Oct 16, 2018
     Middle District of Florida
     United States District Court
                                                           Feb 1986/Oct 16, 2018
     Northern District of Florida
     District of Columbia, Washington, D.C.
                                                         May 10, 2013/Sept. 9, 2018

     United States Supreme Court                                  May 1988




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         3.   In 1978 I graduated of the University of Maryland School of Journalism
with high honors and then a 1983 graduate of the University of Miami School of Law.
After a brief stint working for both Plaintiff and insurance defense firms for personal
injury cases, I spent the next 21 years working in the area of Florida Workers’
Compensation and the federal Longshore and Harbor Workers’ Compensation Act
(LHWCA) primarily defending Employers & Insurance Carriers. I became Board
Certified in the area of Florida Workers’ Compensation Law from 1991. I was an equity
partner in Miller, Kagan, Rodriguez and Silver P.A., one of the larger state comp firms,
and helped expand the firm from two (2) offices to seven (7) statewide.

         4.   I left the firm in 2005 and became a fulltime mediator specializing in
Florida Comp cases and those within the LHWCA and Defense Base Act (DBA) cases as
part of that federal statute. Also in 2006, I formed a firm called the Fair Credit Law
Group, P.A. as I began to represent persons in consumer rights litigation, both in State
and Federal Court; currently, 100% percent of my workload outside of a still active
mediation practice consists of consumer protection litigation, which includes defending
consumers in state court actions and claims brought under the Florida Consumer
Collections Practices Act (FCCPA), the Fair And Accurate Credit Transaction Act
(FACTA) as well as both the Fair Debt Collection Practices Act (FDCPA), and the
Telephone Consumer Protection Act (TCPA).

         5.   Since 2007,I have been an active member of the National Association of
Consumer Advocates (NACA). Additionally, I am a sponsor of Florida Workers’
Advocates (FWA) and Workers’ Injury Litigation Group (WILG) the state and federal
groups for attorneys representing injured workers.

         6.   The Florida Bar for continuing legal education as well as the Florida Bar
Board of Legal Specialization and Education have also certified me as an instructor since
1989.

         7.   I am a certified Arbitrator for both binding and non-binding arbitration
cases.

         8.   I am a frequent lecturer for Effective Mediation Consultants Advance
Mediation seminars offered throughout the state of Florida.




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       9.       I have been a guest lecturer on numerous topics for The Longshore
Institute, The Loyola Univ. (New Orleans) School of Law Annual Longshore Act
Conference, The Florida Bar Workers’ Compensation Section, The Annual Claims
Manager’s Conference sponsored by WCCP, The Florida Workers’ Compensation
Institute’s (FWCI) annual conference and for The Florida Bar Association continuing
legal education, and the previous two years for the WILG national conferences. on the
topic of defending medical debt related to accidents and injuries occurring in the
workplace.

       10.      I previously have been a frequent guest and sponsor of the Community
News and Review radio program for WINX 940 – Miami (also heard on iHeart Radio).

       11.      I was a guest columnist for the Palm Beach Post on consumer affairs for a
number of years.

       12.      I frequently appeared in the South Florida Business Journal, the South
Florida Sun Sentinel, WPTV (NBC affiliate) and WPEC-TV (CBS affiliate) – in West
Palm Beach, as a consumer advocate and expert on debt and credit related issues

       13.      I regularly attend legal seminars hosted by the National Consumer Law
Center (NCLC), including the following:
             National Consumer Law Center, 17th Annual Consumer Rights
             Litigation Conference (2008)

             National Consumer Law Center, Fair Debt Collection Training
             Conference (2009)

             National Association of Consumer Advocates, Fair Credit Reporting Act
             Conference (2009)

             National Consumer Law Center, 18th Annual Consumer Rights
             Litigation Conference (2009)

             National Consumer Law Center, Fair Debt Collection Training
             Conference (2010)

             National Consumer Law Center, 19th Annual Consumer Rights
             Litigation Conference (2010)

             National Consumer Law Center, 20th Annual Consumer Rights
             Litigation Conference (2011)

             National Consumer Law Center, 21st Annual Consumer Rights



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             Litigation Conference (2012)

             National Consumer Law Center 22nd Annual Consumer Rights
             Litigation Conference (2013)

             National Consumer Law Center, Fair Debt Collection Training
             Conference (2014)

             National Consumer Law Center 23rd Annual Consumer Rights Litigation
             Conference (2014)1


       14.       I have attended the Florida Workers’ Compensation Institute’s (FWCI)
annual conference in Orlando, FL every year since 1984 and have spoken on various
topics involving the practice of law, mediation and medical bills received by Claimants
covered under the Florida Workers’ Compensation Act.

       15.       I am generally regarded by my peers as one of the leading authorities in
the State of Florida with respect to the Florida Workers’ Compensation Law, Fair Credit
Reporting Act (FCRA), the Fair Debt Collection Practices Act (FDCPA), and the
FCCPA as well as an expert in the area of credit restoration.

   16. I have been involved as the lead attorney in many landmark legal decisions
       including FCCI Fund (FEISCO) v. Cayce’s Excavation, Inc. (conclusively
       defines the term “navigable waters” for determination of all Florida workers’
       compensation claims) and Palm Springs General Hospital v. Cabrera, (the first
       case to apply the Expert Medical Advisor (EMA) after the 1994 Statutory
       changes to Section 440 - the Florida Workers’ Compensation Act).
   17. I was co-counsel for two landmark decisions in the area of FDCPA for the
       Southern District of Florida, Malone v AR Resources 408 F.Supp.3d 1335 (2019)
       United States District Court, S.D. Florida. October 6, 2019; and Kottler v Gulf
       Coast Collection Bureau, Inc 460 F.Supp.3d 1282 (2020) United States District
       Court, S.D. Florida. May 13, 2020. Kottler was upheld in USCA11 Case: 20-
       12239 by the 11th Circuit Court of Appeals.
   18. Approximately 1 year ago I was awarded $450/hour in Greenwald v Frost-Arnett
       Company, Case No. 19-62751-CIV-ALTMAN/HUNT, United States District
       Court, S.D. Florida. February 22,2021 in a case much less involved than the
       present matter before the court.




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   19. Since that time, the extent of my practice has developed threefold both in terms
       of the number of successful cases and the incorporation of issues and expertise
       unrivaled in the state by any other practitioner in this specific area involving debt
       collection and injured workers.

   For my work in this matter, my fee is $625.00 per hour. This rate is well within the

market rate for attorneys who have the level of experience that I have. Though I submit

however, that there are few if any attorney locally let alone nationally with the expertise

and background in dual areas of both Florida Workers’ Comp and Consumer Law; the

    cornerstones of this action. Other courts in this District have held these fees to be

reasonable. See, e.g., Hoyos v. James E. Albertelli, P.A., No. 17-24515-CIV-MOORE (S.D. Fla.

Feb. 27, 2019) (awarding Scott Owens, my co-counsel in numerous other matters including

  Kottler v Gulf Coast Collection Bureau, Inc. 0:19-cv-61190-BLOOM/Valle (S.D. Fla.)

                                     $500.00 per hour).

       20.     In this case, I expended 12.7 hours, which, at the rate of $625.00 per hour
equals $7,937.50. My fees in this case were incurred as outlined in the attached detailed time
records done in accordance with the ABA billing guidelines.



       Executed at Delray Beach, Florida, on Monday, May 23, 2022


                                       /s/ Paul A. Herman
                                       Paul Herman, Esq. (FBN 405175)
                                       Consumer Advocates Law Group, PLLC
                                       4801 Linton Blvd., Ste. 11A-560
                                       Delray Beach, FL 33445
                                       Tel: 561-236-8851
                                       Fax: 561-431-2352
                                       paul@consumeradvocatelaw.com




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